                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       No. 3:16-00117
                                               )       Judge Sharp
ROBERT F. ARNOLD,                              )


                                               ORDER

       For the reasons set forth in the accompanying Memorandum, Defendant Robert F. Arnold’s

“Motion for Review of September 29, 2016 Detention Order” (Docket No. 92) is hereby DENIED.

       Defendant shall remain in the custody of the Attorney General pending trial under the same

conditions previously imposed, specifically, he shall be kept separately from persons convicted and

serving sentences to the greatest extent possible; he shall be given reasonable opportunity for private

consultation with counsel; the United States Marshal shall transport Defendant to court proceedings

on the request of the Court or the Government; and Defendant shall be temporarily released to the

United States Marshal or other appropriate person for trial preparation or other compelling reasons.

       It is SO ORDERED.



                                                       ____________________________________
                                                       KEVIN H. SHARP
                                                       UNITED STATES DISTRICT JUDGE




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